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                      THE UNITED STATES DISTRICT coURf"T'!^"; Nr*"JCRSFY

                       FOR THE DISTRICT OF NEW JERSEY m FEB -' p 2: ^


 HEYDI DE LA CRUZ and VICTOR A RODRIGUEZ/

 Claimants/




 V.                                                            Case No,:




 CROSSCOUNTRY MORTGAGE LLC/ etaf.,

 Respondents,




 CLAIM FOR BREACH OF FIDUCIARY DUTY/ BREACH OF CONTRACT



      introduction:

          Now comes the private party/ Heydi-De La-Cruz and Victor-Rodriguez, injured
          creditors and the real party of interest (hereinafter Tiaimants"), iawfui
          owners of the private dwelling located at 680 Elm Avenue/ Ridgefield/ New
          Jersey [07657L En peace and without controversy/ over 21: years of;age/ of
          sound mind/ competent, with firsthand knowledge of the facts in Good Faith/
          without controversy/ without prejudice/ without displaced rights as given by
          The Most High/ acting on behalf of: HEYDI DE LA CRUZ and VICTOR A
           RODRIGUEZ commercial interest; and denies expressly/ directly, and explicitly
          that $628/408.00 was borrowed from CROSSCOUNTRY MORTGAGE LLC,
           NATIONSTAR MORTGAGE LLC, and GOVERNMENT NATIONAL MORTGAGE
           ASSOCIATION (GINNIE MAE) (hereinafter collectively referred to as the
           "Respondents").
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    b. Claimants assert unlawful conversion and theft by conversion of private
         property, fraudulent concealment/ violation of consumer privacy laws/ and
         predatory lending practices.



 II. Jurisdiction and Venue:

    a. Jurisdiction is vested in this Court under 28 U.S.C. § 1331 due to the federal
         nature of the claims presented.


     b. Venue is appropriate in this district pursuant to 28 U.S.C. § 1391, as the
         property and actions giving rise to the claims are located within Ridgefleld/
         New Jersey.



 III. Parties:

     a. Claimants, Heydi De La Cruz and Victor A Rodriguez/ are the lawful owners of
         the private dwelling located at 680 Elm Avenue, Ridgefield/ New Jersey
         [07657].

     b. Respondents include CROSSCOUNTRY MORTGAGE LLC as the original lender/
         NATIONSTAR MORTGAGE LLC as the servicer/ and GINNIE MAE as the investor.


 IV. Assertions and Rebuttals:

     a. Claimants assert that the mortgage loan/ originated on August 30, 2022, with
         principal amount $628,408.00, has been improperly handled/ leading to
         violations of standard securitization/ mortgage servicing, and consumer
         protection laws. A strict rebuttal is required.


     b. Further/ the Claimants assert that the Respondents engaged in deceptive
         practices and violations of federal laws, including the Real Estate Settlement
         Procedures Act (RESPA)/ Truth in Lending Act (TILA)/ and other relevant
         statutes.
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    c. The Claimants contend that the Respondents' actions constitute predatory
        lending and unlawful foreclosure practices,



 V. Causes of Action:

    a. Invalid Foreclosure and Lack of Standing: The Claimants assert that the
        Respondents do not possess proper documentation and authority to initiate
        foreclosure proceedings,


    b. Fraud and Misrepresentation: It is alleged that the Respondents
        misrepresented the nature and terms of the mortgage and failed to disclose
        critical information/ engaging in fraudulent practices,


    c. Violation of Consumer Protection Laws: The Claimants assert breaches of
        various consumer protection statutes,



 VI. Prayer for Relief:

 The Claimants respectfully request the Court:

 a. To declare any foreclosure actions on the property as null and void.

 b. To award compensatory and punitive damages.

 c. To order the reversion of property ownership rights back to the Claimants.

 d. To grant any other relief the Court deems Just and proper.




 VII. Jury Demand:

     a. The Claimants hereby demand a trial byjuryonalltriable issues.



 Vltl. Unsworn Declaration;

  By and through the penalties of perjury WITHOUT the laws of the United States/ the
  Claimants declare that the foregoing is true and correct to the best of their
  knowledge.
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                                         Respectfully Submitted,



                                         By; ^
                                         Heydi-De La-Cruz, Beneficiary

                                         In Good Faith/ All Rights Reserved



                                         By:

                                         Victor A RodrEguez, Beneficiary

                                         In Good Faith/ All Rights Reserved
